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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,

        Petitioner,
                                             CIVIL ACTION FILE NO.:
v.
                                             1:22-cv-1653-SCJ-JKL
TIMOTHY WARD, in his official
capacity as Commissioner of the
Georgia Department of Corrections,

        Respondent.

     ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

       The Report and Recommendation of the undersigned United States

Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1), Fed. R. Civ. P.

72(b), N.D. Ga. Civ. R. 72.1(B), (D), and Standing Order 18-01 (N.D. Ga. Feb. 12,

2018), has been filed. The Clerk is DIRECTED to serve upon counsel for the

parties and directly upon any unrepresented parties a copy of the Report and

Recommendation and a copy of this Order.

       Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if

any, to the Report and Recommendation within FOURTEEN (14) DAYS of

service of this Order.     Should objections be filed, they shall specify with
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